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                          Capital Reporting Company
                          Mahdavi, Jodi C. 11-12-2014

                                                                                1
          IN THE UNITED STATES DISTRICT COURT
         FOR THE EASTERN DISTRICT OF VIRGINIA
                 (Alexandria Division)
  --------------------------------:
  JODI C. MAHDAVI,                :
                                  :
                    Plaintiff,    :
                                  :
             vs.                  : Case No.
                                  : 1:14-cv-0648
  NEXTGEAR CAPITAL, INC.          :
                                  :
  and                             :
                                  :
  P.A.R. SERVICES, INC.,          :
                                  :
                    Defendants.   :
  --------------------------------:
                                  Arlington, Virginia

                               Wednesday, November 12, 2014

  Deposition of:

                         JODI C. MAHDAVI

  called for oral examination by counsel for

  Defendant, pursuant to notice, at the law offices

  of Levine, Daniels & Allnutt, 5311 Lee Highway,

  Arlington, Virginia, before Christy McGee, CSR, of

  Capital Reporting Company, a Notary Public in and

  for the Commonwealth of Virginia, beginning at

  10:00 a.m., when were present on behalf of the

  respective parties:




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 1       APPEARANCES                                               1           PROCEEDINGS
 2 On behalf of Plaintiff:
                                                                   2 WHEREUPON,
 3      JONATHAN E. LEVINE, ESQUIRE
        Levine, Daniels & Allnutt, PLLC                            3             JODI C. MAHDAVI
 4      Heritage Square, 5311 Lee Highway                          4 called as a witness, and having been first duly
        Arlington, Virginia 22207                                  5 sworn, was examined and testified as follows:
 5      (703) 525-2668
                                                                   6 EXAMINATION BY COUNSEL FOR DEFENDANT,
 6 On behalf of Defendant, NextGear:
 7      JAMES BRAGDON, ESQUIRE
                                                                     NextGear
        Gallagher, Evelius & Jones, LLP                            7 BY MR. BRAGDON:
 8      218 North Charles Street, Suite 400                        8    Q Hi, Ms. Mahdavi. My name is James
        Baltimore, Maryland 21201                                  9 Bragdon and I represent NextGear. Have you had
 9      (410) 347-1275
10 On behalf of Defendant, P.A.R.:                                10 your deposition taken before?
11      JAMES N. MARKELS, ESQUIRE                                 11    A No.
        Jackson & Campbell                                        12    Q Okay. I'll give you some general rules,
12      1120 Twentieth Street, N.W., South Tower
                                                                  13 and I'm sure Mr. Levine has laid out how this is
        Washington, D.C. 20036-3437
13      (202) 457-1610                                            14 going to go, but I'll be asking you questions about
14                                                                15 the claim that you've brought against NextGear. If
15               *****                                            16 you have -- we don't want to you speculate on any
16
17
                                                                  17 answers, so if you don't know, I don't know is a
18                                                                18 fine answer. If you do answer a question, it's
19                                                                19 going to come across that you do understand the
20                                                                20 question and that you know the answer to the
21
22                                                                21 question. If you don't understand a question, just
                                                                  22 please ask me to clarify. Otherwise, again, it

                                                              3                                                              5

 1             CONTENTS                                            1   will -- if you don't ask for clarification, it will
 2                                                                 2   appear as though you did understand the question.
 3   EXAMINATION BY:                       PAGE                    3   If you need a break at any time, please let me
 4     Counsel for Defendant, NextGear        4                    4   know. And for the court reporter's sake, let's let
 5     Counsel for Defendant, P.A.R.      59/90                    5   each other both -- I'll try to let you finish your
 6     Counsel for Plaintiff           89                          6   answers if you let my finish my questions. Does
 7                                                                 7   all that sound fair?
 8                                                                 8       A Uh-huh.
 9   MAHDAVI DEPOSITION EXHIBITS:     *                PAGE        9          MR. MARKELS: Just one other thing,
10   1 Answers to P.A.R.          8                               10   uh-huhs and so on, we have a court reporter here
11   2 Answers to NextGear          8                             11   who's going to be taking down the audio and making
12   3 Document Production          8                             12   a transcript. We'll need you to vocalize answers,
13                                                                13   so yes and no. Headshakes, nods, that sort of
14                                                                14   thing doesn't help us. So if you could instead of
15                                                                15   uh-huhs just say yes or no, that will be better for
16                                                                16   the court reporter to take down what your answer
17                                                                17   is.
18    (* Exhibits retained by Counsel, Mr. Bragdon.)              18          THE WITNESS: Okay.
19                                                                19   BY MR. BRAGDON:
20                                                                20       Q Are you on any medications today that
21                                                                21   would prohibit you from giving full and truthful
22                                                                22   answers?



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 1    A No.                                                 1          MR. BRAGDON: I'm going to mark your
 2    Q Are you currently employed?                         2   Answers to Interrogatories as Exhibits 1 and 2.
 3    A Yes.                                                3          (Mahdavi Deposition Exhibit Numbers 1 and
 4    Q And what is your job?                               4          2 were marked for identification.)
 5    A Accounting.                                         5   BY MR. BRAGDON:
 6    Q And where do you work?                              6      Q Can you just generally review these
 7    A Palm Management Corporation.                        7   documents and take your time and verify whether
 8    Q And is that a staffing agency?                      8   these are your answers to NextGear, which I think
 9    A No, it's a management company.                      9   is marked as 2, and your supplemental answer to
10    Q So do you work for multiple clients?               10   P.A.R. Services, which I think is marked as 1.
11    A No.                                                11          MR. BRAGDON: Can you mark this as 3?
12    Q Do you work at multiple locations?                 12          (Mahdavi Deposition Exhibit Number 3
13    A No.                                                13          was marked for identification.)
14    Q And where is your office located?                  14   BY MR. BRAGDON:
15    A Washington, D.C.                                   15      Q Do they appear to be accurate copies of
16    Q And what's the address of your employer?           16   the interrogatories you reviewed and signed?
17    A 1730 Rhode Island Avenue.                          17      A Yes.
18    Q Can you describe briefly what your job             18      Q Is there anything specific that comes to
19 responsibilities are?                                   19   mind on review of changes you would make or
20    A I review financial statements and I                20   additions you would make?
21 supervise a staff of accountants.                       21      A No.
22    Q And can you briefly describe your                  22      Q Is it correct -- were you involved in the


                                                       7                                                              9

 1   educational background?                                1   responses to the request for production of
 2       A I have a CPA.                                    2   documents as well?
 3       Q And where was your -- do you have an             3      A Yes.
 4   undergrad degree?                                      4      Q Can you describe what you did to look for
 5       A Uh-huh.                                          5   responsive documents? Where did you go to look for
 6       Q And where was that from?                         6   the documents you produced?
 7       A George Mason.                                    7      A I asked my husband for some.
 8       Q And what was your major in undergrad?            8      Q And did you have any personal files that
 9       A Business.                                        9   you had documents in?
10       Q And what is your home address?                  10      A Bank statements.
11       A 915 Fairway Drive, Vienna, Virginia.            11      Q Did you review any of your e-mail
12       Q And other than that, do you own any other       12   communications?
13   properties?                                           13      A I didn't have any e-mail communications.
14       A Yes.                                            14      Q Do you use e-mail?
15       Q How many approximately do you own or have       15      A Yes.
16   an interest in, I should say?                         16      Q And do you have a work and personal
17       A Approximately ten.                              17   account?
18       Q And are those residential properties?           18      A I don't have a personal account. I have
19       A Yes.                                            19   a work e-mail.
20       Q And are they located -- I guess, what           20      Q And what is the -- that's called Palm
21   states are they located in?                           21   Communication or what's name of your company again?
22       A Virginia and Maryland.                          22      A The Palm.



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 1       Q Palm. Palm Management?                             1   husband, you would delete those?
 2       A Uh-huh.                                            2       A Yes.
 3       Q What's the domain name of those e-mails?           3       Q And has that continued while this
 4       A The Palm.                                          4   litigation has been pending?
 5       Q Have you -- what's your general practice           5       A Yes.
 6   for storing e-mails through your work e-mail             6       Q Have you ever e-mailed anyone about
 7   account?                                                 7   anything related to this litigation?
 8       A I don't keep personal e-mails on my work           8       A No.
 9   e-mail.                                                  9       Q Do you keep a calendar?
10       Q And so you don't have any personal e-mail         10       A No.
11   account?                                                11       Q Do you use Outlook calendar?
12       A I don't have a personal e-mail account,           12       A No.
13   no.                                                     13       Q Do you have any method for keeping track
14       Q So it's correct that -- do you correspond         14   of personal appointments or professional
15   with your husband with your work e-mail?                15   appointments?
16       A I do, yes.                                        16       A I have a paper calendar on my desk.
17       Q Do you correspond with friends and family         17       Q And do you use that paper calendar to
18   members through your work account?                      18   keep track of what your work appointments are?
19       A I do.                                             19       A I don't really have work appointments.
20       Q Is it like an Outlook account?                    20       Q Okay. So do you keep track of, I guess,
21       A It is Outlook.                                    21   social or personal appointments on the work
22       Q Do you -- I guess your e-mail is kept and         22   calendar?


                                                        11                                                         13

 1   stored on the work computer; is that correct?            1      A Uh-huh.
 2      A Uh-huh.                                             2         MR. LEVINE: Try to, for the court
 3      Q Does it also come to your phone?                    3   reporter, give yes or no.
 4      A Yes.                                                4         THE WITNESS: Oh, I'm sorry. Yes.
 5      Q Do you delete e-mails after reading them?           5   BY MR. BRAGDON:
 6      A Sometimes.                                          6      Q And then do you text message with friends
 7      Q Have you continued your -- do you store             7   and family?
 8   e-mails after reading them sometimes?                    8      A Yes.
 9      A Not usually.                                        9      Q Do you send -- is that a frequent way of
10      Q Do you keep separate folders or do you             10   communicating with your friends and family?
11   just keep your e-mails in your inbox?                   11      A Yes.
12      A Just in my inbox.                                  12      Q And do you use text messages to discuss
13      Q Have you continued to delete e-mails over          13   your schedule or where you are for the day?
14   the last six months or have you stopped deleting        14      A Yes.
15   them?                                                   15      Q Ms. Mahdavi, are you married to Navid
16      A I delete some.                                     16   Alex Mahdavi?
17      Q Is there a practice you have for deciding          17      A Yes.
18   which e-mails to delete and which ones to keep?         18      Q When were you married to him?
19      A If it's work-related, I'll keep it. I              19      A September 2005.
20   mean, if I don't need it, I don't keep it, no.          20      Q Does he live with you in Vienna?
21      Q Is it fair to say that most of the                 21      A Yes.
22   e-mails you have with friends and family or your        22      Q Is he currently working?



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 1      A I don't know.                                          1      Q And do you Ms. Nozary as well?
 2      Q Was he working at Beltway Auto before?                 2      A I know of her, yes.
 3      A Yes.                                                   3      Q Had you ever met them before?
 4      Q And do you know what his job                           4      A Yes.
 5   responsibilities there were?                                5      Q And when was that?
 6      A Responsibilities, no.                                  6      A On several occasions maybe a year prior.
 7      Q Did you know what his job title was?                   7      Q A year ago from around now?
 8      A Manager.                                               8      A Uh-huh.
 9      Q Did you have even a general understanding              9      Q Do they live in Virginia?
10   of what he did at Beltway Auto?                            10      A Yes.
11      A Sold cars.                                            11      Q And I think I saw in your interrogatories
12      Q And do you know when he started working               12   that their daughter babysitted for you from time to
13   at Beltway Auto?                                           13   time?
14      A January of 2010.                                      14      A Yes.
15      Q What was your husband's previous job                  15      Q Did you spend time with Mr. Molavi and
16   before working at Beltway Auto?                            16   Ms. Nozary socially?
17          MR. LEVINE: Objection, relevance.                   17      A No.
18   BY MR. BRAGDON:                                            18      Q Do you recall how Mr. Mahdavi came to be
19      Q You can answer unless he tells you not                19   employed by Beltway Auto?
20   to. He's preserving -- if there's an objection to          20      A No.
21   my question, he'll make a record.                          21      Q Did he know Mr. Molavi or Ms. Nozary
22      A He worked for another auto company in                 22   before being hired?


                                                           15                                                              17

 1   Maryland, Auto Source.                                      1       A Not that I'm aware of.
 2       Q And do you know his dates of employment               2       Q Other than for the incarceration in 2008,
 3   there?                                                      3   2009, does Mr. Mahdavi have any criminal
 4       A No.                                                   4   convictions you're aware of?
 5       Q Since you were married, have you ever                 5       A No.
 6   lived apart from Mr. Mahdavi?                               6       Q And we ask this of every deponent, but do
 7       A Yes.                                                  7   you have any criminal convictions other than minor
 8       Q Has he ever lived -- Mr. Mahdavi was                  8   traffic violations?
 9   incarcerated for a period of time in 2008 and 2009;         9       A No.
10   is that correct?                                           10       Q And have you ever been involved in
11       A Yes.                                                 11   another -- a civil lawsuit?
12       Q Other than that, have you ever lived                 12       A Civil?
13   apart from him?                                            13       Q Other than this case?
14       A No.                                                  14       A Is that the tenant?
15       Q Do you know what Mr. Mahdavi's salary was            15       Q Okay. So you've been involved in some
16   at BW Auto?                                                16   landlord/tenant actions?
17       A No.                                                  17       A Yes.
18       Q And you knew the principals or the owners            18       Q And those are for the properties you own?
19   of BW Auto; is that correct?                               19       A Yes.
20       A The -- no.                                           20       Q The ten properties you own, do you know
21       Q Who were your husband's bosses?                      21   how many are in Maryland and how many are in
22       A Mr. Molavi.                                          22   Virginia?



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 1          MR. LEVINE: Objection, relevance.                    1       A Uh-huh.
 2          THE WITNESS: I have one in Maryland.                 2       Q How did you decide on that vehicle?
 3   The others are in Virginia.                                 3       A I saw that it was in a four-door and I
 4   BY MR. BRAGDON:                                             4   liked it and told my husband.
 5      Q Do you know the address of the one in                  5       Q And where did you see it?
 6   Maryland?                                                   6       A I saw it on the road.
 7      A 9913 Montauk Avenue.                                   7       Q And do you recall when you first saw and
 8      Q And are you the owner of these or do you               8   identified that as a car you would be interested
 9   own them jointly with your husband?                         9   in?
10      A I own them.                                           10       A Somewhere around the 1st of the year.
11      Q And can you -- were they all purchased                11       Q And did he tell you at that time he would
12   after the year 2000?                                       12   try to locate one through BW Auto?
13      A I think so. I don't know for sure.                    13       A He just said he would keep an eye out for
14      Q And how did you purchase these                        14   one.
15   properties?                                                15       Q And do you recall the first time he told
16      A With loans.                                           16   you that he found one?
17      Q Did you purchase any of them before being             17       A He didn't tell me he found one. He
18   married to Mr. Mahdavi?                                    18   brought it home for me to see.
19      A I think two. It may have been more. It                19       Q And that was on March -- was that
20   may have been four before we were married.                 20   March 11, 2014?
21      Q Let's talk a little about the BMW.                    21       A No, it was sometime in the beginning of
22   Before you purchased the BMW, what type of car were        22   March.


                                                           19                                                           21

 1   you driving?                                                1       Q And he just brought it home one night?
 2       A GLK.                                                  2       A Uh-huh, yes.
 3       Q And where had you purchased that vehicle              3       Q And did you test-drive it at that time?
 4   from?                                                       4       A Yes.
 5       A BW.                                                   5       Q Do you recall what day of the week he
 6       Q And you had financed that purchase; is                6   brought it home?
 7   that correct?                                               7       A It was a Friday.
 8       A Yes.                                                  8       Q And that's the same white BMW that's at
 9       Q And that's through PenFed as well?                    9   issue in this case?
10       A Yes.                                                 10       A Yes.
11       Q Pentagon Federal. Do you know                        11       Q And did you drive it over that weekend
12   approximately when you purchased that vehicle?             12   test-drive it, I guess?
13       A 2012, I think.                                       13       A Yes, I did.
14       Q And there was a loan amount still                    14       Q And at that time did you decide to
15   outstanding on that car; is that correct?                  15   purchase the vehicle?
16       A Yes.                                                 16       A Yes.
17       Q So do you recall when you first decided              17       Q And what were the terms of purchase to
18   to look for a new vehicle?                                 18   be?
19       A Somewhere around the beginning of the                19       A The terms?
20   year, 2014.                                                20       Q Did you work out how you were going to
21       Q And how did you decide on the -- the BMW             21   purchase the vehicle from BW Auto?
22   6i; is that correct?                                       22       A At that time, no.



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 1      Q Did you make any payments at that time?                1   a car purchase?
 2      A No.                                                    2       A It was just a savings that I had.
 3      Q Did you sign a contract at that time?                  3       Q And was that savings funded by your
 4      A No.                                                    4   salary and your rental properties?
 5      Q Do you recall when you first did sign a                5       A It was just my savings.
 6   contract?                                                   6       Q So what were the sources of your savings
 7      A I did a deposit on the 11th, a transfer                7   at that time?
 8   to deposit on the 11th. I think the contract was            8       A I don't -- I don't -- just whatever
 9   on the 16th.                                                9   savings I had, I would put in that account. I
10      Q Sure. And I'm not trying to quiz you or               10   don't recall where specifically they --
11   anything, so you should feel free to look at the --        11       Q Sure. So I guess the general question
12      A I think it was the 16th.                              12   I'm asking is, when you're building up your savings
13      Q The 16th of --                                        13   account, what were the sources of income for that
14      A March.                                                14   money?
15      Q -- March?                                             15       A It would be, you know -- I don't
16      A And I transferred the deposit on the                  16   really -- I don't think I'm following. Whatever
17   11th, which was after he brought the car home.             17   savings that I would have I would put in that
18      Q Well, I'll say, Ms. Mahdavi, don't feel               18   account, so it would be whatever savings I would
19   any pressure if you don't remember an exact date           19   have from my employment.
20   because we'll go through these documents.                  20       Q Right. So it would be -- the source of
21      A Okay.                                                 21   that savings would be your salary?
22      Q I shall say, if you do want to go through             22       A And my --


                                                           23                                                              25

 1   them at any time today, you should feel free to do          1      Q And rental properties?
 2   that if you think it will help you answer a                 2      A Yes.
 3   question. And do you recall signing a contract to           3      Q Other than salary and rental properties,
 4   purchase around that time in March?                         4   was there anywhere else that you got money for your
 5      A Yes.                                                   5   savings account?
 6      Q Do you recall signing any other                        6      A Not that I recall.
 7   documents, other than the contract to purchase, in          7      Q Did Mr. Mahdavi ever give you money for
 8   March?                                                      8   your savings?
 9      A No.                                                    9      A No.
10      Q And was the deposit you made the $23,000              10      Q And is it true that from the time
11   deposit?                                                   11   Mr. Mahdavi brought the vehicle home in early March
12      A Yes.                                                  12   that it remained on the property, at your house, in
13      Q And that came from one of your accounts?              13   your possession?
14      A Yes.                                                  14      A No, he drove it back and forth to work.
15      Q And which account was that, if you can                15      Q Did he drive it back and forth every day
16   recall?                                                    16   to work?
17      A The Bank of America.                                  17      A Not every day. I mean, he drives a
18      Q And was that approximately all of the                 18   different car every day.
19   money you had in that Bank of America account at           19      Q From the lot?
20   that time?                                                 20      A Uh-huh.
21      A Yes.                                                  21      Q And so often it would be the BMW?
22      Q Was that money you had been saving up for             22      A Often.



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 1       Q When was the first time -- did he drive              1   starting to use the vehicle as your own?
 2   it back the Monday after that first weekend in             2       A I think so.
 3   March when you first test-drove it?                        3       Q Do you recall filling out an application
 4       A The Monday, I honestly can't recall.                 4   for title?
 5       Q Now, after you signed the contract in                5       A No.
 6   March and made the deposit, did you keep the               6       Q Would that have been handled at BW Auto?
 7   vehicle at that time?                                      7       A Yes.
 8       A No.                                                  8       Q And was that your husband who handled
 9       Q And what was -- I guess, what was the                9   that?
10   plan for when you were going to complete the              10       A I don't know.
11   purchase of the vehicle?                                  11       Q Did you talk to anyone at NextGear while
12       A The plan? Well, I was in the process of             12   you were going through the process of purchasing
13   refinancing rental properties, so that's why my           13   this vehicle?
14   husband had me do the down payment.                       14       A No.
15       Q So the idea was that you'd make a down              15       Q Did your husband tell you anything about
16   payment in March and then complete the purchase at        16   who else was involved in the purchase of your
17   some later time?                                          17   vehicle?
18       A Yes.                                                18       A No.
19       Q And you said this was the way your                  19       Q Did you speak when you were -- before
20   husband proposed to structure the deal?                   20   purchasing the vehicle, did you speak with anyone
21       A Yes.                                                21   at PenFed regarding the financing?
22       Q So do you recall the first time that you            22       A No.


                                                          27                                                            29

 1   had the vehicle as your vehicle?                           1       Q Did your husband handle that aspect of
 2      A I want to say it was April some --                    2   the purchase?
 3   mid-April.                                                 3       A Yes.
 4      Q And was that after you completed                      4       Q Do you recall if your husband told you
 5   financing that you started using the vehicle as            5   anything about where the BMW came from or how it
 6   your vehicle?                                              6   was purchased?
 7      A Yes.                                                  7       A No.
 8      Q Now, when you were filling out paperwork              8       Q And is that that he didn't -- I didn't
 9   for the financing for the purchase of the vehicle,         9   ask the question well, but is that that he didn't
10   was that paperwork you obtained through your              10   tell you anything or that you don't recall?
11   husband?                                                  11       A Are you asking before, when I purchased
12      A Yes, he did the paperwork.                           12   the car?
13      Q So, for example -- and we can go through             13       Q Yes.
14   them if it helps, but if there's typewritten              14       A He didn't -- he never said anything.
15   information on a form, was that something he would        15       Q We have Exhibit 3 before you, which is
16   have typewritten?                                         16   the documents you produced. Can you just -- you
17      A Yes.                                                 17   can take your time if you want, but can you flip
18      Q And is it fair to say that he brought the            18   through these documents and just say generally
19   paperwork home for you to sign?                           19   whether these appear to be all the documents you
20      A Yes.                                                 20   produced in response?
21      Q Did you complete all the paperwork                   21       A Yes.
22   regarding the purchase of the vehicle before              22       Q On the first page -- and I'll refer to



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 1   them by the page numbers that are printed in the            1       A A construction company.
 2   lower right-hand corner, Mahdavi 001.                       2       Q And so you decided that, I guess, it's --
 3       A Oh, okay.                                             3       A We'd use the car as a company car.
 4       Q Was this title that you had for the car               4       Q And does the company have a name?
 5   after the purchase?                                         5       A I'm still speaking with the CPA, my tax
 6       A Yes, this is what came in the mail.                   6   CPA, to figure out which type of company I need to
 7       Q And did you say earlier you didn't recall             7   file.
 8   filling out an application for this title; is that          8       Q At what stage was this company formation
 9   correct?                                                    9   in April of 2014?
10       A Yes.                                                 10       A Well, Montauk Avenue is still under
11       Q And what's the address -- I know you                 11   construction, so we were in the middle of the
12   answered this in your interrogatories, but what was        12   project.
13   this address, the Temple Hills address?                    13       Q So is the Montauk -- so Montauk Avenue is
14       A This is the address at -- I have an                  14   a -- is it a residential home?
15   office here.                                               15       A I tore it down.
16       Q And that's -- is that a client office?               16       Q And you're rebuilding a new home?
17       A Yes.                                                 17       A Uh-huh.
18       Q And how frequently are you at that                   18       Q So there's no residence there right now;
19   office?                                                    19   is that correct?
20       A Every couple months.                                 20       A No.
21       Q Is that where this was sent to, this                 21       Q And what was the status of that project
22   Certificate of Title?                                      22   in April of 2014?


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 1      A I think so. The -- this is the address                 1      A It had been torn down.
 2   that Maryland has on file, so that's why the title          2      Q And so when you say you were forming a
 3   went there.                                                 3   company, was it a company to handle this one
 4      Q And do you know why that address was used              4   residential property?
 5   rather than your home address?                              5      A This is the first one.
 6      A Because I was registering the vehicle in               6      Q And that was going to be a Maryland
 7   Maryland at the Montauk Avenue address, but they            7   company?
 8   didn't have that address on file so the title got           8      A Uh-huh, yes.
 9   sent to this address.                                       9      Q And did the company have an address in
10      Q And do you regularly check your mail at               10   Maryland at that time?
11   that address?                                              11      A The Montauk Avenue was going to be the
12      A No.                                                   12   address.
13      Q So I guess the next time you went to the              13      Q And is that in a -- is that in a
14   office you picked it up in the mail?                       14   neighborhood type setting?
15      A No, they sent it to me.                               15      A Yes.
16      Q And, do you know, why was -- did you make             16      Q Was there a mailbox at that property at
17   the decision to register the car in Maryland?              17   that time?
18      A Yes.                                                  18      A Yes, there's a mailbox there.
19      Q And why is that?                                      19      Q Do you receive mail there?
20      A Because we were forming a company in                  20      A It gets forwarded.
21   Maryland. I am forming a company in Maryland.              21      Q So mail sent to that address gets
22      Q And what company is that?                             22   forwarded to your Vienna address?



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  1       A Yes.                                                  1       Q Sorry. Yes. Did you discuss with him
  2       Q And up until April 2014, is it correct                2   the need to have a Maryland address if you were
  3   that no actual company had been formed with regards         3   going to register the car in Maryland?
  4   to the Montauk Avenue property?                             4       A Well, the point was to use the car with
  5       A Not yet.                                              5   the new company and the company was a Maryland
  6       Q And so it still hasn't been formed; is                6   company, so the address being a Maryland address
  7   that correct?                                               7   was because the company was going to be a Maryland
  8       A It's in the process.                                  8   company. It really wasn't the other way around.
  9       Q So were you making -- were you paying for             9       Q Right. Well, you had to have a Maryland
 10   the work on Montauk Avenue from personal funds?            10   address to register the car in Maryland; is that
 11          MR. LEVINE: Objection, relevance.                   11   correct?
 12          THE WITNESS: Yeah.                                  12       A Yes.
 13   BY MR. BRAGDON:                                            13       Q And is that why -- so that's why you used
 14       Q And so are you saying that the eventual              14   your client's address -- the work address at your
 15   plan was that the car would be owned by the company        15   client's office?
 16   or that you would use it for business purposes?            16       A This address?
 17       A Use it for business purposes.                        17       Q Yes.
 18       Q Did you plan on transferring title of the            18       A No, that's just the address that Maryland
 19   car to the company?                                        19   had on file for me. That's why the title got sent
 20       A I hadn't thought the whole process                   20   there. I didn't give Maryland that address.
 21   through yet. It was more of a -- I was still               21   That's just the address they had on file.
 22   speaking to the CPA who does my taxes to figure out        22       Q Do you know what address you did give


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  1   what the best approach was.                                 1   Maryland?
  2       Q So did you make the choice then to use                2       A The Montauk Avenue.
  3   this Maryland address as your address for the BMW           3       Q Now, you didn't fill out the form for the
  4   Certificate of Title?                                       4   title application?
  5       A Yes.                                                  5       A Exactly, I had not done that yet.
  6       Q Were you concerned that by using the                  6       Q Did you eventually fill out a form for
  7   Maryland address that you -- were you concerned             7   title?
  8   about using an address that you didn't regularly            8       A I don't know if my husband did that.
  9   check mail on?                                              9       Q So do you know what address was on that
 10       A No.                                                  10   form?
 11       Q Did anyone else -- did your husband                  11       A I don't know.
 12   participate in you making the decision to register         12       Q And do you know how Maryland would have
 13   the car in Maryland?                                       13   had that address on file already before the
 14       A Yes.                                                 14   purchase of the BMW?
 15       Q And were there any -- how did you make               15           MR. LEVINE: Objection, calls for
 16   that decision with him?                                    16   speculation.
 17       A Other than the fact that we were talking             17           THE WITNESS: I think we had -- I had a
 18   about the new company, that's it.                          18   car there registered before.
 19       Q And so at some point did you discuss the             19   BY MR. BRAGDON:
 20   need to have -- if you were going to register the          20       Q And do you -- was that the car, the one
 21   car in Maryland to have a Maryland address?                21   you referred to earlier that you had?
 22       A Is that a question?                                  22       A The GLK.



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  1       Q The GLK, yes.                                         1   drive currently?
  2       A I think it was originally registered                  2       A I actually carpool with someone from
  3   there. It is registered in Virginia now.                    3   work.
  4       Q Do you still have that vehicle?                       4       Q Is that someone who lives close to you?
  5       A Yes.                                                  5       A Yes.
  6       Q Is that the vehicle you're currently                  6       Q Do you alternate driving or do they drive
  7   driving?                                                    7   every day?
  8       A I have it, yes.                                       8       A She drives most of the time.
  9       Q So if you can flip to Page 15 of your                 9       Q When you drive, what vehicle do you use?
 10   production. The address on -- this is an insurance         10       A It depends. The GLK.
 11   policy document; is that correct?                          11       Q And what other -- so the GLK, what make
 12       A Yes.                                                 12   is that?
 13       Q Is that a document that you had or that              13       A Mercedes.
 14   you got from your husband?                                 14       Q And what year is the GLK, if you know,
 15       A This I had.                                          15   the year of the model?
 16       Q And so you -- the Montauk Avenue, you                16       A It's 2011.
 17   also chose to have the car insured at that address         17       Q Are there other vehicles that you use
 18   as well?                                                   18   since the repossession of the BMW?
 19       A Yes, that's the same address.                        19       A I have my sister's car.
 20       Q When the construction was completed at               20       Q Do you sometimes use your sister's car
 21   Montauk Avenue, was it your intent to sell that as         21   for the carpool or for errands?
 22   a residential property?                                    22       A Yes.


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  1       A It's not complete.                                    1      Q Are there any other vehicles that you
  2       Q I guess my question is, is it planned                 2   use?
  3   that that will be some sort of office or that will          3      A No.
  4   be a construction project you sell to a residential         4      Q And what's the make of your sister's car?
  5   purchaser?                                                  5      A A Porsche.
  6       A Sell.                                                 6      Q Have you ever -- have you rented a
  7       Q Is it fair to say that you didn't plan on             7   vehicle since your BMW was repossessed?
  8   living at Montauk Avenue after it was completed?            8      A No.
  9       A At this point in time, no.                            9      Q And is it fair to say that because it's
 10       Q Can you turn to Page 19? This is the                 10   your sister that it's an informal arrangement where
 11   Purchase Agreement that you signed for the BMW; is         11   she has allowed you to borrow it?
 12   that correct?                                              12      A Yes.
 13       A Yes.                                                 13      Q Can you turn to Mahdavi 22, please? And
 14       Q At the time you signed this agreement,               14   can you confirm when you get there that this is the
 15   you understood there was an unpaid balance of              15   account statement for the account you paid the
 16   $64,000; is that correct?                                  16   deposit for the BMW?
 17       A Yes.                                                 17      A Yes.
 18       Q And was it your understanding that you               18      Q Do you recall -- can you estimate what
 19   would have obtained that amount through financing          19   the balance was on the account at the end of 2013?
 20   through some sort of lender?                               20      A Probably roughly 25,000, I would assume.
 21       A Yes.                                                 21      Q Is it fair to say -- in this account over
 22       Q For when you go to work, what car do you             22   the year before the purchase, was this something



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  1   that had built up in a very -- that the variations         1       A No, they didn't -- they didn't pay off
  2   were slight as you took money out and put money in         2   the GLK, so my husband brought the car back home.
  3   or was it an account that there were large changes         3       Q Okay. So Beltway didn't pay off the GLK?
  4   or variations in it?                                       4       A Right.
  5       A No, it pretty much stayed the same.                  5       Q And when did you learn that Beltway
  6       Q Were there any -- so there -- is it fair             6   hadn't done that?
  7   to say there wouldn't have been any large transfer         7       A It was -- it was later. It was sometime
  8   into the account in early 2014 before purchase of          8   later in May.
  9   the vehicle?                                               9       Q And do you recall what your husband told
 10       A 2014? I'd have to go back and look.                 10   you about that?
 11       Q Were there any other conversations you              11       A He just brought -- I -- he brought the
 12   had that we haven't already discussed before              12   car back home.
 13   purchase of the vehicle about the BMW with your           13          MR. BRAGDON: Give me one minute. I'm
 14   husband that you can recall?                              14   flipping through these documents. Do you want to
 15       A No.                                                 15   take a short break?
 16       Q Is it fair to say that you didn't get               16          MR. LEVINE: Do you want to take a break?
 17   into the details of how the purchase was going to         17          THE WITNESS: It doesn't matter.
 18   happen?                                                   18          MR. BRAGDON: Do you mind if I do?
 19       A No.                                                 19          MR. LEVINE: No, go right ahead.
 20       Q Is that not fair to say? I'm sorry. I               20          (Brief pause.)
 21   asked the question in probably a bad way. Did you         21   BY MR. BRAGDON:
 22   get into the details before the purchase with your        22       Q Ms. Mahdavi, I want to talk a little bit


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  1   husband?                                                   1   about the night of the repossession of the BMW.
  2      A No, not at all.                                       2       A Uh-huh.
  3      Q Has the amount -- the outstanding amount              3       Q Was it a Monday night?
  4   on the loan for the GLK with PenFed, has that been         4       A Yes.
  5   paid off?                                                  5       Q Who was at home?
  6      A No.                                                   6       A I was at home with my kids.
  7      Q Are you still paying that amount?                     7       Q Was your husband at home?
  8      A Yes.                                                  8       A No.
  9      Q Did you receive a trade-in credit for                 9       Q Do you know where he was?
 10   purchase of the BMW?                                      10       A I don't know.
 11      A I was supposed to on the agreement. So               11       Q And I know you described this in your
 12   technically I've paid -- how do you say it? Yes, I        12   interrogatories, but can you describe briefly what
 13   was supposed to get a trade-in allowance on the           13   happened or what you observed that night?
 14   deal, but I didn't get it. We took the car back.          14       A It was the middle of the night. The
 15      Q The GLK?                                             15   doorbell rang. The guy said, Give me the keys to
 16      A Right.                                               16   the white BMW. I went outside. There were two
 17      Q So was the amount -- so the original plan            17   guys. He said he was there for Dave. I don't know
 18   was that you would get a trade-in credit and trade        18   who Dave is. He said, Give me the keys to the BMW.
 19   the car in?                                               19   I called my husband. He said, No, don't give him
 20      A Yes.                                                 20   the keys. He goes, That's your car. He's like,
 21      Q And then that plan changed at some point             21   Call the police. I told the guy I was calling the
 22   before the purchase was finalized?                        22   police, and he already had the car hooked up to the



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  1   tow truck. When I went to call the police, the guy         1   issues at BW involving duplicate titles being
  2   left. I told him to leave, and then when I called          2   obtained?
  3   the police -- when I told him I was calling the            3      A No.
  4   police, they left.                                         4      Q Are there any conversations you've had
  5       Q And he left with the vehicle?                        5   with your husband after repossession of the vehicle
  6       A Uh-huh, yes. He didn't tell me his name.             6   about BW Auto that you can recall?
  7   He didn't give me a business card. He didn't -- he         7      A About BW?
  8   didn't say anything. All he said was, I'm there            8      Q Auto.
  9   for Dave.                                                  9      A Only regarding my case.
 10       Q And when you talked to your husband that            10      Q Has he told you anything about the
 11   night, did he say anything else about why the car         11   Maryland litigation?
 12   might be being repossessed?                               12      A No.
 13       A No, the only thing he said is, No. He               13      Q And what has he told you about this case?
 14   said, That's your car. He said, Tell him to leave,        14      A Just that -- told me about this case? I
 15   that you're calling the police.                           15   mean, we've talked about, I mean, I bought a car,
 16       Q Had your husband up to that point told              16   you guys took my car, it's been six months, I want
 17   you anything about any issues at BW Auto?                 17   my car back.
 18       A No.                                                 18      Q Can we talk a little bit about the
 19       Q And after that did your husband tell you            19   property that you have alleged was in the car at
 20   anything more about what was going on at BW Auto?         20   the time it was repossessed? Is it your contention
 21       A The only thing he told me was that the              21   there was a Cartier watch in the car?
 22   car was taken because of BW.                              22      A Yes.


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  1      Q Did he give you any details about what                1      Q When did you get the watch?
  2   was going on at BW with you?                               2      A It was my husband's watch.
  3      A No.                                                   3      Q Was it a watch that you wore?
  4      Q Has he ever said anything to you about                4      A Yes.
  5   Mr. Molavi or Ms. Nozary about what -- about any           5      Q Can you describe it generally?
  6   actions they have taken at BW Auto?                        6      A It was a Cartier Pasha with diamonds
  7      A No.                                                   7   around the bezel.
  8      Q Did your husband come home after that                 8      Q And --
  9   incident?                                                  9         MR. MARKELS: Around the what?
 10      A After I called him?                                  10         THE WITNESS: Around the bezel, around
 11      Q Yeah, that night.                                    11   the edge.
 12      A Yes.                                                 12         MR. MARKELS: I didn't know there was a
 13      Q He got there after -- did he get there               13   technical term for that.
 14   after the repossession, P.A.R. had left?                  14   BY MR. BRAGDON:
 15      A Yes.                                                 15      Q And do you know when your husband got
 16      Q Did your husband continue reporting to               16   that watch?
 17   work after that.                                          17      A I don't know.
 18      A I don't know.                                        18      Q And when did you start wearing it?
 19      Q Do you know the last time your husband               19      A I've been wearing it the last ten years
 20   went to BW Auto to work?                                  20   on and off.
 21      A I have no idea.                                      21      Q Do you know how much it cost?
 22      Q Has your husband told you anything about             22      A No.



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  1       Q Was it ever appraised?                               1   regular practice to leave it in the car, though?
  2       A Yes.                                                 2       A I mean, I'm sure I've left it in my car
  3       Q Was that for insurance purposes?                     3   before, yes. Is it my regular practice? I
  4       A Yes.                                                 4   couldn't say that that's my regular practice.
  5       Q Do you have a copy of that appraisal?                5       Q You also say you left a gym bag in the
  6       A The appraisal, no. The insurance doesn't             6   car, in the BMW?
  7   have it anymore.                                           7       A Uh-huh.
  8       Q Do you have a copy of an insurance                   8       Q Would that have had your gym clothes in
  9   statement where the appraisal is listed?                   9   it?
 10       A Yes.                                                10       A It just had an extra set of gym clothes.
 11       Q Did you wear it every day?                          11       Q So you didn't -- is it that since there's
 12       A No.                                                 12   no locker room, did you change after the workout or
 13       Q How often did you wear it?                          13   did you just have --
 14       A Maybe once every couple weeks.                      14       A I just always kept an extra gym bag in
 15       Q And where did you keep it in between                15   the car.
 16   wearing it?                                               16       Q And what were the -- what was in that gym
 17       A In my closet.                                       17   bag?
 18       Q Were you wearing it the Monday that the             18       A I just always kept a pair of tennis
 19   BMW was repossessed?                                      19   shoes, pants, sports bra, shirt, and a sweatshirt.
 20       A Yes.                                                20       Q And you also said there was rent money in
 21       Q Did you wear it to work that day?                   21   the car?
 22       A Yes.                                                22       A Yes.


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  1      Q And you said that you went to the gym                 1      Q And that was cash?
  2   after work?                                                2      A Yes.
  3      A Yes.                                                  3      Q Were there any checks?
  4      Q And you kept the watch in the car while               4      A No.
  5   you were in the gym?                                       5      Q Do you know who paid that rent money that
  6      A Yes.                                                  6   was in the car?
  7      Q Did you put the watch back on after                   7      A The tenants that pay cash. I can get --
  8   leaving the gym?                                           8   you mean, you want the tenant's names?
  9      A No.                                                   9      Q Are there certain tenants that you have
 10      Q And where did you keep it in the car?                10   that pay cash?
 11      A In the center console.                               11      A Yes.
 12      Q Do you know why you left the watch or you            12      Q And others that pay by check?
 13   have alleged you left the watch in the car                13      A Yes.
 14   overnight?                                                14      Q And so the tenants who pay by cash, do
 15      A Why I left it in that night? I just -- I             15   you collect it from them personally?
 16   took it off because I go to the gym. I take               16      A The property manager that I have in
 17   boxing. The gym I go to doesn't have a locker             17   Winchester collects the cash.
 18   room, so I left it in the car. When I got home, I         18      Q And how much rent money was in the car
 19   must have left it in the car. I didn't think about        19   when it was repossessed?
 20   grabbing it. I didn't think my car was going to be        20      A I think it was 2,375.
 21   taken from my driveway.                                   21      Q And was that one month's rent from
 22      Q Is it fair to say that it wasn't your                22   multiple tenants?



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  1      A Yes.                                                   1      A Common, no.
  2      Q Do you know, which tenants were they?                  2      Q What vehicle did you drive here today?
  3   You can just say their last name.                           3      A The Porsche.
  4      A I'd have to go back and look and see                   4      Q I guess, what other damages have you
  5   which ones they are.                                        5   incurred as a result of the repossession? I
  6      Q Is that rent for three properties or two               6   think -- let me take that back.
  7   properties?                                                 7          Was there any other property that I
  8      A I think it was two.                                    8   haven't mentioned that was in the car?
  9      Q And when did you pick up that cash?                    9      A The car seat.
 10      A It was the weekend before.                            10      Q So, actually, there was the car seat that
 11      Q And what was your usual practice for                  11   you mentioned, phone chargers. Was there anything
 12   handling cash rent payments?                               12   else other than that?
 13      A She collects it, and then when I see her,             13      A And boxing gloves. I think that was it.
 14   she gives it to me and then I take it to the bank.         14      Q So what other damages are you alleging
 15      Q And what bank do you go to?                           15   that the repossession caused you, monetary damages?
 16      A SunTrust.                                             16      A Monetary damages? The fact that I'm
 17      Q And do you know when that weekend before              17   paying for another car. I'm paying for a car that
 18   the repossession you met with the property manager?        18   I don't have. I'm paying legal fees. I'm taking
 19      A That Sunday.                                          19   time off work.
 20      Q And what's her name?                                  20      Q And is PenFed continuing to require you
 21      A Mitzi Davis.                                          21   to make payments on the car?
 22      Q And where did you meet with her?                      22      A I have made payments. I have had some


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  1      A At her house.                                          1   payments deferred. I'm paying car insurance.
  2      Q Is that in Virginia?                                   2      Q Has there been any negative action on
  3      A Winchester, Virginia.                                  3   your credit in the last year that you know of?
  4      Q And what day -- was it normal that you'd               4      A My credit score has dropped.
  5   be picking up the rent from her in the middle of            5      Q And why is that?
  6   the month?                                                  6      A Because of the balance.
  7      A Most of the tenants don't pay until the                7      Q To your knowledge, has PenFed declared a
  8   10th.                                                       8   default of any of your loans with them?
  9      Q Would you normally keep the rent money in              9      A No.
 10   the car, in your car?                                      10      Q And just to be clear, you're not paying
 11      A Normally? I don't know if I'd say                     11   your sister to use her car?
 12   normally. She gave it to me. I had it in the car.          12      A No.
 13      Q Well, let me ask you this, do you have a              13      Q And is she paying for any other car or
 14   safe in your home?                                         14   does she have another car she can use?
 15      A Yes, but I don't put rent money in my                 15      A She has another car.
 16   safe at home.                                              16      Q And do you know how many car payments
 17      Q Do you keep jewelry in the safe or                    17   have been deferred?
 18   valuable documents or what do you keep in the safe?        18      A Three, I think.
 19      A To be honest with you, I have $2 bills in             19      Q Have those been three consecutive
 20   my safe at home right now.                                 20   payments?
 21      Q I guess, was it common that you would                 21      A No.
 22   have rent money in the car overnight?                      22      Q Are you expecting to make a car payment



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  1   for the month of -- for the next month?                     1       A No.
  2       A I don't know yet.                                     2       Q You stated that what has been marked as
  3       Q Is it just the bank tells you every month             3   Mahdavi -- well, in Exhibit Number 3, what is the
  4   whether they need you to pay or not?                        4   very first page of Exhibit 3, that's your
  5       A I haven't heard back yet.                             5   Certificate of Title. Is that the only evidence of
  6       Q And when you did hear -- of course don't              6   title that you've seen regarding the BMW to date?
  7   tell me anything that your attorney told you, but           7       A Yes.
  8   when you did hear that you were going to have               8       Q Do you have any indication that NextGear
  9   payments deferred, was it someone other than your           9   ever authorized the sale of the BMW to anybody?
 10   attorney who told you that?                                10       A Repeat your question.
 11       A No.                                                  11       Q Do you have any evidence to indicate that
 12       Q Were there any other conversations you               12   NextGear ever authorized the sale of the BMW to
 13   had prior to the repossession -- I'll say prior to         13   anybody?
 14   the purchase of the vehicle with your husband about        14           MR. LEVINE: Objection to form.
 15   the procedure for purchasing the car that we               15           THE WITNESS: I don't know. I don't --
 16   haven't talked about today?                                16   not that I know of. I don't know.
 17       A No.                                                  17   BY MR. MARKELS:
 18          MR. BRAGDON: I'll go over my notes. I               18       Q All right. Have you seen as part of the
 19   may not have very many more questions for you. I           19   document production in this case prior title held
 20   think it will make sense to let Mr. Markels see if         20   by NextGear to the BMW?
 21   he has any questions.                                      21       A No. Have I seen it?
 22          MR. MARKELS: I do. Do you want to look              22       Q Yes.


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  1 over your notes first before I ask my questions?              1       A No.
  2        MR. BRAGDON: I'll just wait for -- I'll                2       Q You've not seen any of the document
  3 ask after you, if that's okay.                                3   production that NextGear produced in this case?
  4    EXAMINATION BY COUNSEL FOR DEFENDANT,                      4   It's not before you, but --
    P.A.R.                                                        5       A I may have. I don't remember. I don't
  5 BY MR. MARKELS:                                               6   remember.
  6     Q Good morning, Ms. Mahdavi. My name is                   7       Q Okay. You do not remember seeing any
  7 James Markels. I represent P.A.R. Services, Inc.              8   Certificate of Title to the BMW in NextGear's name?
  8 I just have a few questions just to make sure that            9       A No.
  9 the record is clear.                                         10       Q Are you aware that in order to get a
 10        You said that you did not fill out the                11   Certificate of Title from the Maryland Vehicle
 11 application for title for the BMW, correct?                  12   Administration you have to submit prior title?
 12     A Yes.                                                   13          MR. LEVINE: Objection, speculation.
 13     Q Do you know who did?                                   14   BY MR. MARKELS:
 14     A I don't know. I -- my husband, I assume.               15       Q Are you aware?
 15     Q You assume your husband or somebody at BW              16       A No.
 16 Auto Outlet?                                                 17       Q Okay. Now, you say during your -- oh,
 17     A Yes.                                                   18   did you ever have a conversation with your husband
 18     Q Did you ever see the application for                   19   or anyone at BW Auto Outlet about who the prior
 19 title?                                                       20   owner of the BMW was?
 20     A No.                                                    21       A I didn't.
 21     Q Have you ever seen any prior title to the              22       Q You were aware that the BMW was a used
 22 BMW?


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  1   car, right?                                               1      A Yes.
  2       A Yes.                                                2      Q Did you review this document before you
  3       Q Was it your assumption when you purchased           3   signed it?
  4   it that BW Auto Outlet was the owner of the car?          4      A Did I read all of it, no.
  5       A Yes, I assumed BW was the owner of the              5      Q Was it your understanding that the cash
  6   car.                                                      6   price of the vehicle at $71,995 was the accurate
  7       Q Okay. Did you ever at any time ask them             7   agreed-to sale price for the BMW?
  8   to see title to the car in their name?                    8      A Yes.
  9       A No.                                                 9      Q Now, if you look down, you will see
 10       Q Was that ever provided to you?                     10   various charges, including things like Dealer
 11       A No.                                                11   Processing Charge, PDI Fee, Registration Fee, Title
 12       Q Did they ever make that representation to          12   Fee, and so forth, right?
 13   you?                                                     13      A Yes.
 14       A No.                                                14      Q Do you see where it says, "Less:
 15       Q Now, you said that the address on the              15   Trade-In Allowance"? Do you see where it says
 16   Maryland Certificate of Title for the BMW in your        16   that?
 17   name, that address is simply a prior address that        17      A Yes.
 18   Maryland had on file for you?                            18      Q Do you see where it says $22,500 next to
 19       A Uh-huh.                                            19   that, right?
 20       Q That's a yes?                                      20      A Yes.
 21       A Yes.                                               21      Q Was it your understanding that that was a
 22       Q And that was for which car?                        22   credit to you for the trade-in of the GLK?


                                                          63                                                              65

  1       A The address?                                        1      A Yes.
  2       Q Yes.                                                2      Q And, in fact, that GLK is the vehicle
  3       A It was for the GLK.                                 3   described under where it says "Trade-In Vehicle
  4       Q Now, speaking of the GLK, you said that             4   Information" to the left of that, correct?
  5   originally your intention was to trade it in as           5      A Yes.
  6   part of the purchase for the BMW, correct?                6      Q And that shows the trade-in allowance
  7       A Yes.                                                7   there and the balance owned and lienholder, right?
  8       Q Could you look on Exhibit Number 3, what            8      A Yes.
  9   is Mahdavi 19? Do you see that?                           9      Q Now, if you look under where it says the
 10       A Yes.                                               10   "Less: Trade-In Allowance" of $22,500 right below
 11       Q Is that the Retail Purchase Agreement for          11   that on the right-hand side, it also says, "Plus:
 12   the BMW?                                                 12   Balance Owed on Trade-In," right?
 13       A Yes.                                               13      A Yes.
 14       Q It was your understanding -- is that your          14      Q And there it says $34,966, right?
 15   signature on the bottom left?                            15      A Uh-huh.
 16       A Yes.                                               16      Q So in actuality to trade-in your car
 17       Q If you would turn it over to Mahdavi 20,           17   would cost you an additional $12,466, right?
 18   was the information on the back of this also part        18      A Yes.
 19   of that retail sales agreement?                          19      Q So in order to purchase the BMW, you put
 20       A Yes.                                               20   in $23,000 as a down payment and then PenFed had to
 21       Q And is that your signature at the bottom           21   put up an additional $64,941.70, which would
 22   there?                                                   22   include having to make up the difference for the



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  1   balance owed on your trade-in, right?                       1   against BW Outlet for failure to sell you good
  2      A Yes.                                                   2   title to the BMW?
  3      Q And, in fact, if we look at what is                    3           MR. LEVINE: Objection, foundation.
  4   Mahdavi 79, if you would take a look at that.               4   BY MR. MARKELS:
  5      A Uh-huh.                                                5       Q Go ahead and answer.
  6      Q That is the check you produced that was                6       A No, I have not. Not yet.
  7   issued by Pentagon Federal Credit Union in the              7       Q Have you discussed with your husband why
  8   amount of $64,941.70, right?                                8   BW Auto Outlet has not paid you the $12,466?
  9      A Yes.                                                   9       A No.
 10      Q So they paid the amount that is set forth             10       Q You have not?
 11   on Mahdavi 19, correct?                                    11       A No.
 12      A Yes.                                                  12       Q Do you know if he still works there?
 13      Q Now, you've said that in May of 2014,                 13       A I don't know. Not that I know of. I
 14   some two months after this Retail Purchase                 14   don't think it's there anymore.
 15   Agreement was signed, and two months -- a month            15       Q You don't think it's a going concern
 16   after the Pentagon Federal Credit Union check was          16   anymore?
 17   issued that the trade-in fell through, the GLK came        17       A No, I don't -- I don't think BW is there
 18   back to your house?                                        18   anymore.
 19      A I don't remember exactly when the GLK                 19       Q I'm sorry. What do you mean by that?
 20   came back or when the trade-in didn't happen. I            20       A I don't know. I don't think my husband
 21   didn't know that the trade-in didn't happen. My            21   works there anymore.
 22   husband is the one that knew that the trade-in             22       Q You think it's out of business, closed up


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  1   didn't happen. So he brought the GLK came home.             1   shop?
  2      Q All right. And you still have title to                 2      A I don't know anything about BW. I don't
  3   the GLK, correct?                                           3   know if it's in business or if it's not in
  4      A Yes.                                                   4   business.
  5      Q So I'm going to ask you, what happened to              5      Q Okay. Did your husband ever tell you
  6   the $12,466 that should have been refunded?                 6   that he was fired from BW Auto Outlet or that --
  7      A I am out that $12,000.                                 7      A No, he did not say he was fired from BW
  8      Q And who has that money?                                8   Auto Outlet.
  9      A Baltimore Washington.                                  9      Q Okay. Now, you say you don't know
 10      Q BW Auto Outlet, right?                                10   anything about his income?
 11      A Yes.                                                  11      A That's what I said, yes.
 12      Q And have you requested that they refund               12      Q And so you don't know whether he was ever
 13   you that money?                                            13   paid from BW Auto Outlet?
 14      A Not yet. I mean, I'm just trying to get               14      A He was paid from BW.
 15   my car back is my first step, but, yes, I'm out            15      Q How much?
 16   that $12,000.                                              16      A I have no idea.
 17      Q And you have not filed any suit to                    17      Q How do you know he was paid?
 18   recover that $12,466?                                      18      A I've seen a W-2.
 19      A I just told you, I'm trying to get my car             19      Q So you've seen paperwork from BW Auto
 20   back. Yes, I -- yes, I would like to get that              20   Outlet indicating that they have paid monies to
 21   $12,000 back, too.                                         21   Mr. Mahdavi?
 22      Q All right. And you have not filed suit                22      A It was years ago. I've seen a W-2 for



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  1   it, but I have no idea, like, how much it was.              1   insured for.
  2       Q Have you ever seen his tax returns?                   2   BY MR. MARKELS:
  3       A No, we don't file joint returns.                      3       Q And that insurance was for a value,
  4       Q How long have you been filing separately?             4   correct?
  5       A I don't think we've ever filed joint                  5       A Yes.
  6   returns.                                                    6       Q And that value was pursuant to the
  7       Q It's also true that the $12,466 that BW               7   insurance company appraising the approximate value
  8   Auto Outlet has has never been paid to PenFed,              8   of the Cartier watch?
  9   right?                                                      9       A Yes.
 10           MR. LEVINE: Objection, foundation, calls           10       Q Okay. If you have not yet given that
 11   for speculation.                                           11   document to your counsel, I ask that you do so,
 12           THE WITNESS: To my knowledge, it has not           12   that it be produced in this case.
 13   been paid to PenFed.                                       13           Now, during the date of the repossession,
 14   BY MR. BRAGDON:                                            14   do you agree that that occurred in the early
 15       Q You have produced as part of Exhibit                 15   morning hours of May 20th of 2014?
 16   Number 3 your statements from PenFed, and if you'd         16       A May 20th, yes.
 17   like to go through them again, that's fine, but            17       Q Okay. Around, say, like 1:30 in the
 18   would you agree with me that none of those                 18   morning or something like that?
 19   statements reflect any payment of $12,466 to               19       A Somewhere around in there, yes.
 20   PenFed?                                                    20       Q You said that there were two gentlemen
 21       A They do not.                                         21   who showed up?
 22       Q Now, you did say that at one point your              22       A Yes.


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  1   Cartier watch was appraised for insurance purposes?         1       Q Now, when did it become clear to you that
  2       A Uh-huh, yes.                                          2   this was a repossession of your car as opposed to
  3       Q And that you do have a copy of something,             3   just some people stealing it?
  4   one of those insurance documents that has that              4       A When they knocked on the door and asked
  5   appraisal value on it?                                      5   for the keys.
  6       A The insurance value that it's insured                 6       Q Okay. Did they have any indicia of who
  7   for.                                                        7   they worked for on them, on their outfits? Did
  8       Q Okay. Have you given that to your                     8   they give you a card, any other information?
  9   counsel to be produced in this case as an indicator         9       A No.
 10   of the Cartier watch's value?                              10       Q All right. Now, did you -- after they
 11       A Yes.                                                 11   left, did you chase them?
 12          MR. MARKELS: Has that been produced,                12       A I have three kids, small kids inside.
 13   Counsel?                                                   13   No, I did not chase them.
 14          MR. LEVINE: I don't know. I'd have to               14       Q Do you know if your husband ever tried to
 15   look and see what was produced.                            15   pursue them?
 16          MR. MARKELS: James, do you recall that              16       A My husband was not at home. I called him
 17   being in here?                                             17   on the phone. I don't know.
 18          MR. BRAGDON: We can address it, but I               18       Q Where was he at the time?
 19   haven't seen it.                                           19       A I don't know. He wasn't home.
 20          MR. MARKELS: Okay.                                  20       Q He wasn't at work?
 21          THE WITNESS: There was never an                     21       A It was 1:30 in the morning. I don't
 22   appraisal. It was just an insurance, what it's             22   know.



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  1     Q      Okay. He hadn't told you where he was?             1          MR. BRAGDON: The P.A.R. one.
  2          MR. LEVINE: Objection, asked and                     2          THE WITNESS: It's this one.
  3   answered.                                                   3          MR. LEVINE: Exhibit 2 is how we have it.
  4          THE WITNESS: No.                                     4          MR. MARKELS: Oh, you're on another
  5   BY MR. MARKELS:                                             5   exhibit. I thought it was switched around. That's
  6       Q All right. Now, to your knowledge,                    6   fine.
  7   nobody in any vehicle or on foot pursued the men            7          THE WITNESS: Which page are we on?
  8   who repoed your car?                                        8          MR. LEVINE: Page 5.
  9       A No, my husband met up with the police and             9   BY MR. MARKELS:
 10   the men, the people who had the car.                       10       Q Page 5. Page 5 of Exhibit 2. Now,
 11       Q Now, you said as this was going on you               11   although the copies that we have before us are not
 12   called the police, correct?                                12   signed by you, you agree that you did sign these
 13       A No, I told the men standing there to                 13   particular answers to these supplemental
 14   leave, that I was going to call the police, and            14   interrogatory answers, right?
 15   that's when they left.                                     15       A Yes.
 16       Q Did you ever -- did you call the police              16       Q Now, in your supplemental answer you
 17   at that time?                                              17   state that you received title for the BMW. Do you
 18       A No, I hung up the phone. They left --                18   see that?
 19   they were leaving. I called my husband and said            19       A Yes.
 20   that they left. That's when he got on the phone            20       Q Now, when you say you received title for
 21   with the police and they tracked them down.                21   the BMW, you mean that what was in Exhibit 3 as
 22       Q To your knowledge, have the police taken             22   Mahdavi 1 was received to you in the mail, correct?


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  1   any action against P.A.R. Services or NextGear or           1       A Yes.
  2   anybody else with regard to that car?                       2       Q And we already talked about you did not
  3      A Not to my knowledge.                                   3   file any application or receive prior title to the
  4      Q Do you know whether your husband was a                 4   BMW at any time, correct?
  5   salaried employee of BW Outlet or was on                    5       A Yes.
  6   commission? Do you have any idea?                           6       Q All right. If you would turn to Page 6
  7      A I don't know.                                          7   of that same -- of Exhibit 2, you see where under
  8      Q Was he responsible for paying any of the               8   the supplemental answer it says, "Subject to and
  9   household obligations?                                      9   without waiving the prior objections, on or about
 10      A He pays the mortgage.                                 10   May 21, 2014, I spoke to Deb McCloud on the
 11      Q That's the only thing he's in charge of?              11   telephone about the BMW being repossessed and she
 12      A Yes.                                                  12   transferred my call to Kerry Howard." Do you see
 13      Q Now, let's look at Exhibit Number 1, your             13   that?
 14   answer to Interrogatory No. 7, which is on Page 5.         14       A Yes.
 15   Do you see that this is Interrogatory No. 7 about,         15       Q Are you sure that was on the 21st and not
 16   "Set forth all facts in support of the allegations         16   on the 20th?
 17   of Paragraph 31 of your complaint." Looking at             17       A Yes. The 20th was the day the car was
 18   Exhibit Number 1.                                          18   taken.
 19          MR. LEVINE: Exhibit Number 1. You mean              19       Q Right, the very early morning of the
 20   Exhibit 2?                                                 20   20th, right.
 21          MR. MARKELS: I'm looking for Jodi                   21       A Yes.
 22   Mahdavi's Supplemental Responses to P.A.R Services.        22       Q So you did not contact PenFed the entire



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  1   day of the 20th and you waited until the 21st?              1       A I don't -- in the other case? I don't
  2       A No, because I was waiting for my husband              2   know.
  3   to figure out what was going on.                            3       Q At any time.
  4       Q Okay. So you did not alert PenFed in any              4       A I don't know.
  5   way about the repossession until the 21st? That's           5       Q Are you aware that your husband has been
  6   your position?                                              6   asked questions about BW Auto Outlet's practices in
  7       A Yes.                                                  7   selling cars?
  8       Q So if PenFed had, in fact, contacted                  8       A I don't -- I don't know.
  9   P.A.R. Services about the BMW on the 20th, it was           9           MR. LEVINE: I'm going to object to the
 10   not due to any communication by you or your                10   extent that any conversations that I may have had
 11   husband?                                                   11   with my client about what's going on with that
 12       A It wasn't from me.                                   12   matter.
 13       Q Do you know if your husband contacted                13   BY MR. MARKELS:
 14   PenFed?                                                    14       Q Of course. You're aware that there is
 15       A I don't know.                                        15   litigation pending in Maryland between NextGear and
 16       Q Did he tell you that he ever contacted               16   BW Auto Outlet, correct?
 17   PenFed on the 20th?                                        17       A Just what I've seen here, yes.
 18       A He didn't tell me.                                   18       Q Okay. Are you aware that your husband's
 19       Q All right.                                           19   deposition has been taken in that case?
 20       A But I know on the next day he was trying             20       A I don't know. I don't -- I don't know if
 21   to figure out what happened and how to get the car         21   his deposition has been taken.
 22   back.                                                      22       Q Okay. He's never indicated to you that


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  1       Q Did he ever explain to you anything about             1   he was having his deposition taken or that a
  2   a loan with NextGear that BW Auto had?                      2   deposition has happened?
  3          MR. LEVINE: Objection, asked and                     3       A No.
  4   answered.                                                   4       Q You understand what the Fifth Amendment
  5          THE WITNESS: No.                                     5   of the US Constitution provides with regard to a
  6   BY MR. MARKELS:                                             6   person giving testimony under -- or giving sworn
  7       Q Did he ever explain to you anything about             7   testimony?
  8   a floor lease or a floor loan?                              8       A Technically, no, not really. I mean, no,
  9       A No.                                                   9   not really.
 10       Q Did he ever tell you about how title to              10       Q All right. Have you reviewed the
 11   cars that were held by BW Auto Outlet were handled?        11   affidavit by Lisa Long that was attached by
 12       A No.                                                  12   NextGear Capital to their Opposition to Motion for
 13       Q Did he ever tell you the process by which            13   Preliminary Injunction filed in this case?
 14   BW Auto Outlet obtained title to sell to                   14       A I vaguely remember seeing something, but
 15   purchasers?                                                15   I don't -- without looking at it, I don't remember
 16       A No.                                                  16   exactly.
 17       Q You're aware that your husband has pled              17       Q Okay. Is it your understanding that
 18   the Fifth with regard to BW Auto Outlet sales of           18   NextGear Capital has taken the position in this
 19   cars from its lot?                                         19   case that it had the original title to this BMW and
 20       A I don't know.                                        20   never authorized that it be sold to anybody?
 21       Q You don't know if he's ever pled the                 21       A That's their -- yes, that's their stance.
 22   Fifth?                                                     22       Q Okay. And are you aware of anyone at BW



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  1   Auto Outlet who has given any testimony or evidence         1   that.
  2   that that is incorrect?                                     2          Have you had any discussions with
  3      A Not that I know of.                                    3   Mr. Molavi about the repossession of your car?
  4      Q You own several real properties, as we've              4       A No.
  5   discussed before. Are you familiar with the term            5       Q Or Ms. Nozary?
  6   chain of title?                                             6       A No, I have not had any discussions with
  7      A Chain of title?                                        7   her.
  8          MR. LEVINE: Objection, calls for a legal             8       Q How about anyone else at BW Auto Outlet?
  9   response.                                                   9       A No.
 10   BY MR. MARKELS:                                            10       Q So the only person you've talked to since
 11      Q Are you familiar with the term?                       11   the repossession of your car that was affiliated
 12      A No.                                                   12   with BW Auto Outlet at any time was your husband?
 13      Q If you look at Exhibit Number 1, that is              13       A Yes.
 14   your interrogatory answers to NextGear's requests,         14       Q Did your husband advise you to file suit
 15   Page 4. Do you see at the top it says,                     15   to recover the BMW?
 16   Interrogatory No. 5?                                       16          MR. LEVINE: I'm going to object there on
 17      A Uh-huh.                                               17   spousal privilege and any conversations that would
 18      Q "State the substance of all discussions               18   have happened about what she should do.
 19   concerning the occurrence that you had with any            19          MR. MARKELS: Are you directing her not
 20   party to the case," right?                                 20   to answer?
 21      A Yes.                                                  21          MR. LEVINE: I'm making the objection. I
 22      Q Do you see under the answer it says,                  22   don't know what her answer is.


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  1   "Subject to and without waiving the objections, on          1   BY MR. MARKELS:
  2   or about May 21, 2014, around one in the morning, I         2       Q Okay. Go ahead and answer.
  3   was at home and my doorbell rang." Do you see               3       A I don't really know. I mean, I think we
  4   that?                                                       4   tried to get the car back, and when that didn't
  5       A Yes.                                                  5   happen, this was our next step, to legally try to
  6       Q It's your understanding now that it did               6   go get the car back.
  7   not happen on May 21st? It actually happened on             7       Q So he is aware of this lawsuit?
  8   May 20th?                                                   8       A Yes, he's aware.
  9       A May 20th is -- was it Tuesday? I'd have               9       Q Did he ever express any concerns to you
 10   to look at a calendar. Was May 21st a Tuesday?             10   about this lawsuit?
 11       Q Let me just verify that really quickly if            11       A Concerns, no.
 12   that would help. May 21st is a Wednesday, was a            12       Q Okay. What efforts did you and your
 13   Wednesday.                                                 13   husband take in order to recover the BMW?
 14       A So then it is May 20th.                              14       A I mean, I know he contacted people to try
 15       Q Okay. Now, since the repossession of                 15   to get the car back.
 16   your car, what has your husband told you with              16       Q Who did he contact?
 17   regard to -- regarding the title to the BMW?               17       A I don't know who his contacts are. I
 18       A He hasn't told me anything.                          18   contacted Pentagon Federal.
 19       Q Have you asked him whether or not you                19       Q And that was on May 21st?
 20   have good title to the BMW?                                20       A Yes, since the car was taken on the 20th;
 21       A He said it's my car. I bought the car.               21   although, I must have my days off by a day to try
 22       Q Did he ever describe to you -- strike                22   to get the car back. You know, she was trying



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  1   to -- you know, Kerry Howard was trying to get the          1      Q Did she ever send you any documentation
  2   car back for me.                                            2   from MVA regarding the BMW?
  3       Q Who?                                                  3      A No.
  4       A Kerry Howard at Pentagon Federal was                  4      Q Did you ever have any phone conversation
  5   trying to get the car back.                                 5   with Kerry Howard or anyone else over at PenFed
  6       Q What did she tell you about those                     6   about tracking down prior owners -- who the prior
  7   efforts?                                                    7   owners were for the BMW, either through the MVA or
  8       A She said that she couldn't get NextGear               8   other means?
  9   to respond to her, and then, you know, when she did         9      A No.
 10   get NextGear to respond, they said that they               10      Q To date, has PenFed ever indicated to you
 11   couldn't speak to her because, you know, of the            11   that BW Auto Outlet ever had good title to the BMW?
 12   case. So it just kind of spiraled to where we are          12         MR. LEVINE: Objection, foundation.
 13   now. I bought a car; I haven't seen my car in six          13   BY MR. MARKELS:
 14   months; I want my car back.                                14      Q Has PenFed ever told you that?
 15       Q Did Pentagon Federal ever tell you that              15      A I haven't asked.
 16   NextGear did not have title to the car?                    16      Q Okay. Are you aware that Mr. Molavi, the
 17       A No.                                                  17   owner of BW Auto Outlet, has also pled the Fifth
 18       Q Did NextGear ever -- I mean, did Pentagon            18   with regard to sales of vehicles by BW Auto Outlet?
 19   Federal ever tell you that you were sold good title        19         MR. LEVINE: Objection, foundation,
 20   to the car?                                                20   hearsay.
 21       A She never said that.                                 21   BY MR. MARKELS:
 22       Q All right. Did you ever undertake to                 22      Q Are you aware?


                                                            87                                                              89

  1   investigate where your title was derived from, who          1       A No.
  2   the prior owner of the BMW was before you owned it?         2          MR. MARKELS: I think that's all I have
  3       A I don't even know how to do that. I                   3   at this time. Did you review your notes?
  4   don't know where to begin to do that.                       4          MR. BRAGDON: I don't have any other
  5       Q You never went to the MVA, the Maryland               5   questions.
  6   Vehicle Administration, to find out who had filed           6          MR. MARKELS: All right.
  7   previously any title with regard to the BMW?                7        EXAMINATION BY COUNSEL FOR PLAINTIFF
  8       A No, Kerry Howard did that.                            8   BY MR. LEVINE:
  9       Q Okay.                                                 9       Q Ms. Mahdavi, going back to the issue of
 10       A She was doing that.                                  10   damages, did you do any -- did you purchase
 11       Q And what did she tell you that she found?            11   anything for the BMW after -- any parts for the BMW
 12       A She sent me everything that she had. Is              12   after you purchased it?
 13   her letter in here?                                        13       A Two new tires.
 14       Q Can you direct me to where her -- if you             14       Q And what did you pay for those tires?
 15   could look through Exhibit 3, you say her letter is        15       A $725 roughly.
 16   in here. If you could direct me to where that              16       Q Okay. And do you have the receipt?
 17   letter is.                                                 17       A I do.
 18       A That's all she --                                    18       Q Okay. And when did you --
 19       Q You're looking at Mahdavi 78?                        19       A $745.
 20       A Yes.                                                 20       Q And when did you purchase the tires?
 21       Q This is all that she sent you?                       21       A The 22nd.
 22       A Yes.                                                 22       Q Of what month?



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  1     A April.                                              1         (Signature not waived.)
  2     Q In 2014?                                            2         (Whereupon, at 11:56 a.m., the deposition
  3     A Yes.                                                3         of JODI C. MAHDAVI was concluded.)
  4     Q Okay. And are you including that in your            4
  5 damages?                                                  5              * * * * *
  6     A Yes.                                                6
  7        MR. LEVINE: That's the only question               7
  8 I've got.                                                 8
  9   EXAMINATION BY COUNSEL FOR DEFENDANT,                   9
    P.A.R.                                                   10
 10 BY MR. MARKELS:                                          11
 11     Q Just one more thing. I'm sorry, but just           12
 12 one more. Approximately how much -- you've made a        13
 13 request for attorney's fees in this case. Can you        14
 14 tell me approximately how much you've paid so far        15
 15 in attorney's fees on this case?                         16
 16        MR. LEVINE: Well, I'll object to the              17
 17 extent that --                                           18
 18 BY MR. MARKELS:                                          19
 19     Q I'm not asking for any specifics about             20
 20 what was done or anything like that. I'm just            21
 21 trying to get the number, a ballpark.                    22
 22     A I have paid -- I haven't paid all of my

                                                        91                                                              93

  1   bills.                                                  1           CERTIFICATE OF NOTARY PUBLIC
  2       Q But how much have you incurred to date?           2          I, CHRISTY MCGEE, the officer before whom
  3       A Incurred to date or how much I've paid to         3   the foregoing statement was taken, do hereby
  4   date?                                                   4   certify that the statement was taken by me in
  5       Q Let's start with just incurred.                   5   stenotype and thereafter reduced to typewriting
  6       A Incurred? I don't want to guess because           6   under my direction; that the said statement is a
  7   I -- I don't know the exact number.                     7   true record of the proceedings; that I am neither
  8       Q More than $20,000?                                8   counsel for, related to, nor employed by any of the
                                                              9   parties to the action in which this statement was
  9       A Yes.
                                                             10   taken; and, further, that I am not a relative or
 10       Q More than $30,000?
                                                             11   employee of any counsel or attorney employed by the
 11       A Yes.
                                                             12   parties hereto, nor financially or otherwise
 12       Q More than $40,000?
                                                             13   interested in the outcome of this action.
 13       A I believe so.
                                                             14
 14       Q So not $50,000 -- less than $50,000?
                                                             15
 15       A I'd say close.                                   16
 16       Q So $40,000 to $60,000?                           17
 17       A Yes.                                             18                       CHRISTY MCGEE
 18       Q A fair ballpark. And then how much have                               Notary Public in and for the
 19   you actually paid?                                     19                    Commonwealth of Virginia
 20       A Ten.                                             20   My commission expires:
 21           MR. MARKELS: Okay. That's all I have.          21   September 30, 2016
 22           MR. LEVINE: She'll read.                       22   Notary Registration No.: 7233765



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  1   ACKNOWLEDGEMENT OF DEPONENT                                 1 Capital Reporting Company
  2                                                                 1821 Jefferson Place, Northwest
  3                                                               2 3rd Floor
  4   I, JODI C. MAHDAVI, do hereby acknowledge I have              Washington, D.C. 20006
  5   read and examined the foregoing pages of testimony,         3 (202) 857-3376
                                                                  4          ERRATA SHEET
  6   and the same is a true, correct and complete
                                                                  5 Case Name: JODI C. MAHDAVI vs. NEXTGEAR & P.A.R.
  7   transcription of the testimony given by me, and any
                                                                  6 Witness Name: JODI C. MAHDAVI
  8   changes or corrections, if any, appear in the               7 Deposition Date: WEDNESDAY, NOVEMBER 12, 2014
  9   attached errata sheet signed by me.                         8 Page No.     Line No. Change/Reason for Change
 10                                                               9
 11                                                              10
 12                                                              11
 13                                                              12
 14                                                              13
 15                                                              14
 16                                                              15
    _________________ _____________________________              16
                                                                 17
 17 Date         JODI C. MAHDAVI
                                                                 18
 18
                                                                 19
 19                                                              20
 20                                                              21
 21                                                                 __________________________            __________
 22                                                              22 Signature                   Date


                                                            95

  1 Jonathan E. Levine, Esquire
    Levine, Daniels & Allnutt, PLLC
  2 Heritage Square, 5311 Lee Highway
    Arlington, Virginia 22207
  3
    IN RE: Jodi C. Mahdavi vs. NextGear Capital & PAR
  4
  5 Dear Mr. Levine:
  6        Enclosed please find your copy of the
  7 deposition of JODI C. MAHDAVI, along with the
  8 original signature page. As agreed, you will be
  9 responsible for contacting the witness regarding
 10 signature.
 11        Within 21 days of November 25, 2014,
 12 please forward errata sheet and original signed
 13 signature page to counsel for Defendants, James
 14 Bragdon, Esq.
 15        If you have any questions, please do not
 16 hesitate to call. Thank you.
 17
 18 Yours,
 19 Christy McGee, CSR
    Reporter/Notary
 20
 21 cc: James Bragdon, Esq.
 22



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